                                        United States District Court
                   MIDDLE                                         District of                               TENNESSEE

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                            V.
                                                                            Case Number:           3:13-00115-01 & 3:13-00090-10
         JUAN CARLOS MEJIA-MIRANDA
                                                                            USM Number:            21635-075

                                                                            Jerry Gonzalez
                                                                            Defendant’s Attorney
THE DEFENDANT:
  X         pleaded guilty to Count 1of the Indictment in Case No. 3:13-00115-01 and Count 20 of the Second Superseding
            Indictment in Case No. 3:13-00090-10.

            pleaded nolo contendere to count(s)
            which was accepted by the court.
            was found guilty on count(s)
            after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                     Offense Ended                Count

Case No. 3:13-00115-01:
8 U.S.C. § 1326(a)                    Unlawful Re-entry by a Removed Alien                                  May 21, 2013             1

Case No. 3:13-00090-10
18 U.S.C. §§641 and 2                 Theft of Public Funds                                                 May 21, 2013             20

        The defendant is sentenced as provided in pages 2 through             6         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)
   X      Counts 1 2,3,4,5,6,7,8,9,10,11and 12 of the Second Superseding Indictment as well as the underlying Indictment and
          Superseding Indictment are dismissed on the motion of the United States.

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States Attorney of material changes in economic circumstances.


                                                                                      December 16, 2013
                                                                                      Date of Imposition of Judgment



                                                                                      Signature of Judge


                                                                                      Kevin H. Sharp, United States District Judge
                                                                                      Name and Title of Judge


                                                                                      March 4, 2014
                                                                                      Date



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                                                            IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 16 months,
which shall consist of a term of 16 months in Case No. 3:13-00115 and a term of 16 months in Case No. 3:13-00090, with such terms to
be served concurrently with each other.



     X            The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that Defendant be incarcerated at a federal prison facility as close as possible to Nashville, Tennessee, subject
to his security classification and the availability of space at the institution.


     X            The defendant is remanded to the custody of the United States Marshal.

                  The defendant shall surrender to the United States Marshal for this district:

                  _________         at ____________ a.m.        __________ p.m. on ___________________________.

                  _________         as notified by the United States Marshal.

_______           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  _________         before 2 p.m. on _______________________________.                                                 .

                  _________         as notified by the United States Marshal.

                  _________         as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on                                 to

at                                           , with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL



                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL




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                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of three years, which shall consist of terms
of one year as to Case No. 3:13-00115 and three years as to Case No. 3:13-00090, with such terms to run concurrently with each other.



        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

                    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
                    substance abuse. (Check, if applicable.)
      X             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
                    applicable.)
      X             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
                    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
                    is a student, as directed by the probation officer. (Check, if applicable.)
                    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
          paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          court; and

13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
          such notification requirement.
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                                SPECIAL CONDITIONS OF SUPERVISION

1.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices
     or other dangerous weapons.

2.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

3.   The Defendant shall pay restitution to the victim(s) identified in the Criminal Monetary Penalties section
     of this Judgment in an amount totaling $ 7,596. Payments shall be submitted to the United States District
     Court, Clerk’s Office, Eighth Floor, 801 Broadway, Nashville, Tennessee 37203. Restitution is due
     immediately. If the Defendant is incarcerated, payment shall begin under the Bureau of Prisons’ Inmate
     Financial Responsibility Program. Should there be an unpaid balance when supervision commences, the
     Defendant shall pay the remaining restitution at a minimum monthly rate of 10 percent of the Defendant’s
     gross monthly income. No interest shall accrue as long as Defendant remains in compliance with the
     payment schedule ordered. Pursuant to 18 U.S.C. § 3664(k), Defendant shall notify the court and United
     States Attorney of any material change in economic circumstances that might affect ability to pay.

4.   If deported, the Defendant shall not reenter the United States without the express permission of the United
     States Attorney General or the Secretary of the Department of Homeland Security. Within 24 hours of
     returning to the United States, the Defendant shall report in person to the nearest U.S. Probation Office.




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                                             CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                          Assessment                                      Fine                                  Restitution
TOTALS                    $200.00 ($100 each case)                        $                                     $7,596.00 (Case No. 3:13-00090)



                 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
                 be entered after such determination.

   X             The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                 otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                 victims must be paid before the United States is paid.

Name of Payee                            Total Loss*                               Restitution Ordered                    Priority or Percentage


Internal Revenue Service-RACS                $7,596.00                                       $7,596.00
Attention: Mail Stop 6261, Restitution
333 W. Pershing Avenue
Kansas City, MO 64108




TOTALS                                         $7,596.00                                     $7,596.00

                 Restitution amount ordered pursuant to plea agreement $

                 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                 the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
                 of Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   X             The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                           the interest requirement is waived for the                 fine       X       restitution, as long as Defendant remains
                 in compliance with the payment schedule..

                            the interest requirement for the               fine               restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A            X               Lump sum payment of $ 200 (Special Assessment) and $7,596 (Restitution) due immediately, balance due

                                         not later than                        , or
                                 X       in accordance                C,                  D,                  E, or         X      F below; or

B                            Payment to begin immediately (may be combined with                     C,          D, or            F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                             that time; or

F             X              Special instructions regarding the payment of criminal monetary penalties:

         Restitution is due in full immediately. If the Defendant is incarcerated, payment shall begin under the Bureau of Prisons’ Inmate
         Financial Responsibility Program. Should there be an unpaid balance when supervision commences, the Defendant shall pay
         the remaining restitution at a minimum monthly rate of 10 percent of the Defendant’s gross monthly income. No interest shall
         accrue as long as Defendant remains in compliance with the payment schedule ordered. Pursuant to 18 U.S.C. § 3664(k),
         Defendant shall notify the court and United States Attorney of any material change in economic circumstances that might affect
         ability to pay.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


                   Joint and Several

                   Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                   Amount, and corresponding payee, if appropriate.



                   The defendant shall pay the cost of prosecution.

                   The defendant shall pay the following court cost(s):

                   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.


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